    Case: 1:22-cr-00323 Document #: 28 Filed: 01/19/23 Page 1 of 1 PageID #:109



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                              )
             USA                              )              Case No: 22 CR 323-2
                                              )
                v.                            )
                                              )              Magistrate Judge: Gabriel A. Fuentes
                                              )
    RAHEIM HAMILTON                           )
                                              )

                                             ORDER

         Initial appearance held. Defendant Raheim Hamilton appears in response to his removal
from the Eastern District of Virginia. Attorney William Edelman appears on behalf of the
Defendant as retained counsel. Defendant was advised of charges and informed of his rights and
of prosecutorial obligations per Rule 5(d) and (f). Pursuant to Federal Rule of Criminal Procedure
Rule 5(f)(1), the Court confirms the prosecutor’s continuing obligation under Brady v. Maryland,
373 U.S. 83 (1963), and its progeny, to disclose information favorable to the Defendant that is
material to guilt or punishment. Failure to disclose may result in various consequences, including
but not limited to exclusion of evidence, adverse jury instructions, a mistrial, dismissal of charges,
vacatur of a conviction or guilty plea, disciplinary action against the prosecution, and contempt
proceedings. Arraignment hearing held. Defense acknowledges receipt of the indictment and
waives formal reading. Defendant enters a plea of not guilty to the indictment. The Court sets the
following schedule: Rule 16.1(a) conference to be conducted by 1/26/23. Pretrial motions due by
2/16/23. A written status report is due to Judge Seeger on 2/23/23. Defendant was ordered
detained at a detention hearing held in the Eastern District of Virginia, but defense counsel
disclosed that a motion for release on bond is anticipated in this district. The government stated
that it will seek continued detention. Defense counsel by agreement is directed to file the bond
motion with proposed release conditions by 5 p.m. on 1/24/23. The government may respond to
that motion in writing or orally at the motion hearing, which is set for 1:30 p.m. on 1/27/23 in
Courtroom 1838 of the Dirksen U.S. Courthouse. Pretrial Services is directed to submit a report
by 1/26/23 after review of the motion. The government’s unopposed oral motion to exclude time
from the date of the arraignment through the date of the status report deadline on 2/23/23 is granted
per 18 U.S.C. § 3161(h)(6) and (h)(7) to serve the ends of justice. Excluding time will permit the
parties to review discovery materials and allow the time that is reasonably necessary for effective
preparation. Such delay outweighs the interests of the public and the defendant in a speedy trial,
particularly at this early stage of the case. The Defendant is remanded to the custody of U.S.
Marshals Service pending the 1/27/23 detention hearing.


(X-T)
(T: 00:10) IA
(T: 00:10) A                                  /s/ _________________________________________
                                                      GABRIEL A. FUENTES
Date: January 19, 2023                                UNITED STATES MAGISTRATE JUDGE
